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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
VS.                                 )                CR. NO. 1:17-10004-8-STA
                                    )
CHARLIE HARTSHAW,                  )
                                    )
            Defendant.              )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on August 11, 2017, Assistant United States Attorney, Matt Wilson,
appearing for the Government and the defendant, Charlie Hartshaw, appearing in person, and with
counsel, David Camp.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 2 Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, NOVEMBER 7, 2017 at 11:00 A.M., before
Chief Judge S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 11th day of August, 2017.


                                                   s/ S. Thomas Anderson
                                                    CHIEF JUDGE, U. S. DISTRICT COURT
